            Case 5:21-cr-00009-LGW-BWC Document 1136 Filed 08/26/24 Page 1 of 1
                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT of GEORGIA
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                                        NOTICE of FILING DEFICIENCY

               7R Gregory Gilluly, Jr., Tania D. Groover                    'DWH 8/26/2024
              &DVH 5:21-CR-009-020                                         3DUW\USA

                #1135 Response
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                'LVFORVXUH6WDWHPHQWKDVQRWEHHQ ILOHG 7KLV LVWKHRQO\PHFKDQLVP WRLGHQWLI\ SRWHQWLDO
                  MXGLFLDOFRQIOLFWV /RFDO5XOH 
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                   Document e-filed by one attorney and signed by another attorney.
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                                                         Tara H. Burton (706) 849-4407
                 )RU PRUHLQIRUPDWLRQ3OHDVHFRQWDFWBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                               Deputy Clerk
